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                                                   24-1237

                  United States Court of Appeals
                                                       for the

                                       Fourth Circuit

                        COLONIALWEBB CONTRACTORS COMPANY,

                                                                                 Plaintiff/Appellee,

                                                        – v. –



                                          HILL PHOENIX, INC.,

                                                                             Defendant/Appellant.

                        ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA AT RICHMOND

                               BRIEF OF APPELLEE
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                This Court lacks jurisdiction to consider this appeal under 28 U.S.C.

        § 1447(d), and the appeal should be dismissed. In the alternative, the district court’s

        judgment should be affirmed.

                                     STATEMENT OF CASE

           I.      ColonialWebb filed two separate actions in state court.

                On June 9, 2023, Plaintiff-Appellee ColonialWebb Contractors Company

        (“ColonialWebb”) filed two civil actions in the Circuit Court for Henrico County.

        One case alleged facts and claims arising out of a project located in Michigan (the

        “Michigan Case” or “Michigan Case / Case No. CL23004146-00”). JA394-445. The

        other case alleged facts and claims arising out of a project located in Colorado (the

        “Colorado Case” or “Colorado Case / Case No. CL23004147-00”). JA477-483.

                Although both the Michigan Case and the Colorado Case named Hill Phoenix,

        Inc. (“Hill Phoenix”) as defendant, the two state court cases were distinct and

        separate civil actions. JA394-445, JA477-483.

                ColonialWebb took no steps to serve any documents related to the state court

        cases on Hill Phoenix. At some point, however, Hill Phoenix became aware of the

        two state court cases. ColonialWebb has no knowledge as to how Hill Phoenix

        received notice of the two state court cases.




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           II.      Hill Phoenix filed a single Notice of Removal in Federal Court
                    attempting to remove two separate and distinct state court actions—
                    confusion ensued.

                 Despite never being served with process in either the Michigan Case or the

        Colorado Case, Hill Phoenix filed a Notice of Removal in the Eastern District of

        Virginia on October 31, 2023. JA5-10. This single Notice of Removal attempted to

        remove both the Michigan Case / Case No. CL23004146-00 and the Colorado Case

        / Case No. CL23004147-00 to federal court. JA5-9. In the Notice of Removal, Hill

        Phoenix stated:

           (1) “Plaintiff initiated the State Court Actions by filing identical Complaints in

                 each on or about June 9, 2023” (JA5);

           (2) “Plaintiff filed identical Complaints and Amended Complaints in the two

                 State Court Actions. The case number on all of the complaints and amended

                 complaints was No. CL23004146-00. It appears that identical cases were

                 opened in error.” JA5.

        These statements are plainly inaccurate. The complaints are not identical; the cases

        had separate case numbers; and the two cases were not “opened in error.” The actual

        status of the filings easily could have been confirmed by driving the short distance

        from downtown Richmond to the Henrico County Circuit Court to view the file, or

        by accessing the court files through the Officer of the Court Remote Access

        (“OCRA”) online system, but Hill Phoenix failed to do so.



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                 Further, the Notice of Removal makes no mention whatsoever of the Colorado

        Case, beyond a citation to the case number. See JA5-10. The Notice of Removal

        merges the two state court actions into one case and, in so doing, eliminates the facts

        and claims of the Colorado Case as though they did not exist. See JA5-10. Despite

        the absence of either a Motion to Consolidate or a court order consolidating the

        cases, Hill Phoenix, through its removal, unilaterally and improperly consolidated

        the Michigan Case and the Colorado Case into the one present case. As a result,

        ColonialWebb found itself in the confusing position of having its two state court

        cases removed into a single federal court case, and contesting a motion to dismiss

        the entire federal case that addressed the merits of only the Michigan Case. 1 See

        JA5-10.

             III.   ColonialWebb blows the whistle that something has gone wrong.

                 ColonialWebb timely moved for the remand of both cases back to the state

        court. JA163-217. ColonialWebb first raised the issue of Hill Phoenix’s improper

        consolidation of the Michigan Case and the Colorado Case in its Motion for Remand.

        JA163-217. ColonialWebb also pointed out to the court that Hill Phoenix improperly

        consolidated the Michigan Case and the Colorado Case in its Notice of Removal in

        ColonialWebb’s Memorandum in Support of its Motion to Remand. JA218.

        ColonialWebb repeated this assertion in its Memorandum in Opposition to Hill


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            Hill Phoenix is incorrect that ColonialWebb failed to raise this issue.

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        Phoenix’s Motion to Dismiss. JA317. In fact, ColonialWebb raised the issue of Hill

        Phoenix’s improper consolidation of the Michigan Case and Colorado Case upon

        removal in every filing it made, other than its Diversity Statement, Financial

        Disclosure Statement, and Appearance of Counsel Notices. JA163-217, JA317-334,

        JA434-437, JA569. ColonialWebb even took on the additional burden and expense

        of filing with the district court certified copies of the state court records on

        November 28, 2023, which ColonialWebb easily obtained from the Henrico County

        Circuit Court. JA434.

           IV.   The district court resolves confusion by remanding the case back to
                 the state court from whence it came.

              After both parties briefed the issue of remand, the district court requested

        additional briefing on (1) “whether Hill Phoenix was served as defendant in the two

        state court cases”; (2) “whether the cases are, in fact, two separate cases; and (3)

        “whether the consolidation of the two state court cases upon removal was proper.”

        JA594-595.

              The district court found that Hill Phoenix’s unilateral consolidation of the

        Michigan Case and the Colorado Case upon removal was improper because no court

        action determined consolidation to be appropriate. Rather, the cases were filed and

        consolidated in federal court because Hill Phoenix wrongly represented that the

        cases were identical in its Notice of Removal. JA5-10, JA613-614. The district court

        ordered remand. This appeal followed.

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                             COUNTER-STATEMENT OF ISSUES

           1. Must this Court dismiss this appeal of a remand order because the district

              court relied on Hill Phoenix’s improper consolidation of the Colorado Case

              and the Michigan Case upon removal and characterized the improper

              consolidation as affecting the court’s jurisdiction and as a timely raised

              procedural defect in removal? (Yes)

           2. Was the district court authorized to remand this case to state court due to a

              procedural defect when Hill Phoenix filed a Notice of Removal in federal

              court that consolidated the Michigan Case and the Colorado Case without

              authorization, merged the cases into one case, eliminated the facts and claim

              of the Colorado Case, and effectively created a new, fictional case that was

              not filed in state court? (Yes)

                                    SUMMARY OF ARGUMENT

              Where a district court finds that it lacks subject matter jurisdiction over a

        removed case, or that there is a timely raised procedural defect in removal, the

        district court may remand the case back to state court pursuant to 28 U.S.C. §

        1447(c). Powerex Corp. v. Reliant Energy Servs., Inc., 127 S. Ct. 2411, 2415 (2007).

        When the substance of the remand decision may be colorably characterized as being

        based on these reasons, the appellate court does not have jurisdiction to review the




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        decision, even if the decision is ultimately incorrect. Id. This is because the purpose

        of 28 U.S.C § 1447(d) is to avoid procedural delays in litigation. Id.

              The district court remanded this case back to state court due to Hill Phoenix’s

        improper consolidation of the Michigan Case and the Colorado Case upon removal

        to federal court. JA611-614. Hill Phoenix argues that the district court lacks authority

        to remand on this basis. In so doing, Hill Phoenix construes 28 U.S.C. § 1447(c) too

        narrowly.

              First, the substance of the district court’s remand decision colorably

        characterized the improper consolidation as affecting the jurisdiction of the court.

        Even if the district court’s decision is incorrect, this characterization bars appellate

        review. Protopapas v. Travelers Cas. & Sur. Co., 94 F.4th 351, 356–57 (4th Cir.

        2024).

              Second, the district court’s decision also colorably characterized the improper

        consolidation as a procedural defect—a procedural defect that ColonialWebb

        repeatedly raised in its Motion for Remand, Memorandum in Support of Motion for

        Remand and other court filings. Accordingly, this characterization also bars appellate

        review. Id.

                 Third, even if appellate review is not barred, the district court was authorized

        to remand because it correctly determined that Hill Phoenix improperly consolidated




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        the Michigan Case and Colorado Case upon removal and this improper consolidation

        was a procedural defect.

              The improper consolidation was a procedural defect. A procedural defect is

        any failure to comply with the removal statutes codified in 28 U.S.C. §§ 1441-1453.

        Bynum v. Norfolk S. Ry. Co. (In re Norfolk S. Ry. Co.), 756 F.3d 282, 292 (4th Cir.

        2014)(citing Kamm v. ITEX Corp., 568 F.3d 752, 755 (9th Cir. 2009)). Due to Hill

        Phoenix’s improper consolidation of the Michigan Case and the Colorado Case, the

        federal case, as styled in Hill Phoenix’s Notice of Removal, was never filed in state

        court. The state court case described in the Notice of Removal does not exist.

        Therefore, Hill Phoenix failed to comply with 28 U.S.C. § 1441(a), which only

        permits the removal of civil actions filed in state court. 28 U.S.C. § 1441(a). Hill

        Phoenix’s improper consolidation of the Michigan Case and the Colorado Case was

        a procedural defect; 28 U.S.C. § 1447(c) authorized the district court to order

        remand.

              Further, the unilateral consolidation of two separate and distinct state court

        cases by a defendant upon filing a Notice of Removal must be considered a

        procedural defect. The alternative would be to hand defendants who find themselves

        the subject of multiple lawsuits a tool to delay litigation, sow confusion, and force

        plaintiffs to shoulder additional burden and expense to ensure their separate civil




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        actions do not disappear in an improperly consolidated case removed to federal

        court.

                 In sum, this appeal should be dismissed or, alternatively, the district court’s

        order remanding this case to state court should be affirmed.

                                      STANDARD OF REVIEW

                 Congress has limited the power of federal appellate courts to review district

        orders remanding removed cases back to state court. Doe v. Blair, 819 F.3d 64, 66

        (4th Cir. 2016). Specifically, 28 U.S.C § 1447(d) prohibits appellate review of

        remand orders substantively based on the grounds specified in 28 U.S.C § 1447(c)—

        i.e., a lack of subject matter jurisdiction or “a defect in removal other than a lack of

        subject matter jurisdiction that was raised by the motion of a party within 30 days

        after the notice of removal was filed.” 28 U.S.C § 1447(c); Ellenburg v. Spartan

        Motors Chassis, Inc., 519 F.3d 192, 196 (4th Cir. 2008).

                 In determining whether a remand order is based on one of the two grounds

        contained Section 1447(c), the appellate court must look to the underlying substance

        of the decision. A.D.A v. McKinsey & Co., 2022 U.S. App. LEXIS 12479, *2 (4th

        Cir. 2022); Borneman v. United States, 213 F.3d 819, 824–25 (4th Cir. 2000). If a

        remand order is premised on one of the grounds specified in Section 1447(c), then

        the appellate court “may not review the order even if it be manifestly, inarguably

        erroneous.” Mangold Analytic Servs., Inc., 77 F.3d 1442, 1450 (4th Cir. 1996).



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                                            ARGUMENT

           I.      This Court lacks appellate jurisdiction to review the district court’s
                   remand order.

                The district court’s remand order satisfies the minimal requirements necessary

        to bar appellate review. 28 U.S. Code § 1447(d) provides that “[a]n order remanding

        a case to the State Court from which it was removed is not reviewable on appeal or

        otherwise.” The Supreme Court prohibits the review of remand orders if the district

        court based its decision on a “timely raised defect in the removal procedure” or a

        “lack of subject matter jurisdiction.” Things Remembered v. Petrarca, 516 U.S. 124,

        128 (1995); Powerex Corp. v. Reliant Energy Serv., Inc., 551 U.S. 224, 229–30

        (2007) (citing Quackenbush v. Allstate Ins. Co., 517 U.S. 706, 711–12 (1996).

                When (as here) the substance of the district court’s remand order is based on

        jurisdictional or procedural reasons, the appellate court must accept the district

        court’s characterization if it is merely “colorable.” Lisenby v. Lear, 674 F.3d 259,

        263 (4th Cir 2012); A.D.A. v. McKinsey & Co., 2022 U.S. App. LEXIS 12479, *2

        (4th Cir. 2022)(“In determining whether a remand order is based on one of the two

        §1447(c) grounds, we look to the substance of the district court’s decision, not the

        labels or citations the court employed.”); see also Harvey v. UTE Indian Tribe of

        Uintah & Ouray Rsrv., 797 F.3d 800, 804 (10th Cir. 2015)(noting that the standard

        of review for colorability is “essentially a superficial determination of plausibility”).

        “Colorable” is a low bar. See Powerex, 551 U.S. at 234 (“debatable”); Protopapas v.

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        Travelers Cas. & Sur. Co., 94 F.4th 351, 356 (4th Cir. 2024)(“plausible”); see also

        Atl. Nat’l Tr. LLC v. Mr. Hawley Ins. Co., 621 F.3d 931, 939–40 (9th Cir.

        2010)(describing a district court’s characterization as colorable unless it is contrary

        to “clearly established law”).

              So little is required for a characterization to be “colorable” that the district

        court does not even need to explicitly state or cite Section 1447(c) in its remand

        decision to bar review, if it invokes the grounds specified therein. See Ellenburg v.

        Spartan Motors Chassi, Inc., 519 F.3d 192, 196 (4th Cir. 2008)(“If, however, the

        district court’s remand order in a case removed under §1441 was not issued under

        §1447(c) or did not ‘invok[e] the grounds specified therein,’ we are free to review

        it.”)(emphasis added); Protopapas v. Travelers Cas. & Sur. Co., 94 F.4th 351, 356–

        57 (4th Cir. 2024)(noting that an appellate court’s review of a remand decision

        should be limited to whether a lack of subject matter jurisdiction was a “plausible

        legal explanation of what legal ground the District Court actually relied upon for its

        remand.”); A.D.A. v. McKinsey & Co., 2022 U.S. App. LEXIS 12479, *2 (4th Cir.

        2022)(“In determining whether a remand order is based on one of the two §1447(c)

        grounds, we look to the substance of the district court’s decision, not the labels or

        citations the court employed.’”); see also Atl. Nat’l Tr. LLC, 621 F.3d at 935 (9th Cir.

        2010)(noting that the appellate court may analyze the basis of the district court’s

        order “where it was not clear that the ground specified by the district court was a



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        ground enumerated in section 1447(c).” If the appellate court determines that the

        district court based its remand on a ground enumerated in section 1447(c), the

        appellate court lacks jurisdiction to review whether the district court’s application of

        that ground was correct). When a remand order is premised on one of the Section

        1447(c) grounds, an appellate court “may not review the order even if it be

        manifestly, inarguably erroneous.” Mangold v. Analytic Servs., Inc., 77 F.3d 1442,

        1450 (4th Cir. 1996).

              The district court’s characterization of its remand order satisfies this low bar.

        The district court held that Hill Phoenix’s improper consolidation of two separate

        state court cases was grounds for remand but based the substance of its remand

        decision on a lack of subject matter jurisdiction and a procedural defect. See JA612-

        614. In light of the district court’s characterizations, the Court is barred from review

        of this appeal.

           A. The District Court colorably characterized its decision to remand as a lack
              of subject matter jurisdiction.

              Hill Phoenix states that the district court satisfied itself that it had jurisdiction

        when the court stated that Hill Phoenix “adequately pled diversity jurisdiction.”

        JA613. But Hill Phoenix fails to address the additional language surrounding the

        court’s statement. The surrounding language in the district court’s order indicates

        that the court relied on a lack of subject matter jurisdiction as the legal ground for

        remand. The district court cites Md. Stadium Auth. v. Ellerbe Becket, Inc., 407 F. 3d

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        255, 260 (4th Cir. 2005) for its holding that “courts must construe removal

        jurisdiction strictly because of the ‘significant federalism concerns implicated.’”

        JA612. The court goes on to state that remand is necessary when federal jurisdiction

        is doubtful and that the removing party bears the burden of proving that the district

        court has jurisdiction. JA613.

              The case law bears this out. In Doe v. Blair and Ellenburg, the district courts

        stated that they were remanding due to a lack of subject matter jurisdiction but then

        only discussed the defendant’s failure to sufficiently allege diversity jurisdiction in

        its notice of removal. Doe v. Blair, 819 F.3d 64, 68 (2016); Ellenburg, 519 F.3d at

        197. The appellate court in both cases found that remand was not based on lack of

        subject matter jurisdiction but on a procedural defect in the removal notice. Doe, 819

        F.3d at 68; Ellenburg, 519 F.3d at 197. Here, the district court states that Hill Phoenix

        adequately pled diversity jurisdiction, but it introduces this statement with the use of

        the word “although” and modifies this clause with the statement “the cases have

        been consolidated in error.” JA612 (“Although Defendant has adequately pled

        diversity jurisdiction, the state court cases have been consolidated in error.”). This

        indicates that the district court believed that the improper consolidation of state cases

        impacted the court's jurisdiction even if Hill Phoenix adequately pled diversity

        jurisdiction. Such a discussion of jurisdiction would not be necessary if the district

        court believed it had jurisdiction over the case despite Hill Phoenix’s violation of



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        Federal Rule of Civil Procedure 42 and its improper consolidation of the two state

        court cases. The district court based its decision to remand on a lack of subject matter

        jurisdiction.

              Federal Rule of Civil Procedure 42, which governs the consolidation of

        federal cases, states that “[i]f actions before the court involve a common question of

        law or fact, the court may: . . . consolidate actions.” Fed. R. Civ. Pro. 42 (emphasis

        added). This Court has not addressed the meaning of “before the court” in the

        context of interpreting Federal Rule of Civil Procedure 42. Other courts interpret

        Federal Rule of Civil Procedure 42 as requiring that all cases must be pending before

        the court for the court to have the jurisdiction to order consolidation. Oregon Egg

        Producers v. Andrew, 458 F.2d 382, 383 (9th Cir. 1972)(holding that a district court

        lacked jurisdiction to consolidate a state civil action and federal civil action because

        the state civil action was not pending before the district court); United States use of

        Owens-Corning Fiberglass Corp. v. Brandt Constr. Co,, 826 F.2d 643, 645–46 (7th.

        Cir. 1987)(finding that a district court did not have jurisdiction to consolidate two

        cases because both were not pending before the court).

              In this matter, the Michigan Case and the Colorado Case were not properly

        pending before the district court when they were consolidated. Hill Phoenix

        unilaterally consolidated the two state court cases when it filed its single Notice of

        Removal in the district court. Because the state courts retain jurisdiction over a case



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        until the defendant files a notice of removal in state court, at the time that

        consolidation occurred, the Michigan Case and the Colorado Case were each still

        pending in state court. See 28 U.S.C 1446(d)(“Promptly after the filing of such notice

        of removal of a civil action the defendant or defendants shall give written notice

        thereof to all adverse parties and shall file a copy of the notice with the clerk of such

        State court, which shall effect the removal and the State court shall proceed no

        further unless and until the case is remanded.”). Moreover, no court action

        whatsoever determined whether consolidation of the two cases was proper. The

        district court could not exercise jurisdiction over the removed case that improperly

        consolidated the Michigan Case and the Colorado Case because the two cases were

        not properly pending before the district court when the wrongful consolidation

        occurred.

              Even if the district court was wrong, and it did have subject matter jurisdiction

        over the cases despite Hill Phoenix’s improper consolidation, this Court still cannot

        exercise jurisdiction over this appeal. Section 1447(d)’s bar to appellate review

        depends on whether the district court, explicitly or implicitly, bases its reasoning on

        the grounds specified in Section 1447(c) in its remand order—not whether the

        district court was correct in ordering remand. Mangold Analytic Servs., Inc., 77 F.3d

        1442, 1450–51 (4th Cir. 1996). Here, the district court based its remand order on Hill

        Phoenix’s improper consolidation, which the court plausibly or colorably



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        characterized as impacting its jurisdiction over the matter. Therefore, this Court lacks

        jurisdiction and should dismiss the appeal.

           B. The District Court colorably characterized its remand decision on a timely
              raised procedural defect.

                  1. ColonialWebb timely raised the issue of improper consolidation in its
                     motion to remand.

              In addition to remand for lack of subject matter jurisdiction, Section 1447(c)

        permits the remand of a case based on a “timely raised defect in the removal

        procedure.” 28 U.S.C. § 1447(c)(“A motion to remand the case on the basis of any

        defect other than lack of subject matter jurisdiction must be made within 30 days

        after the filing of the notice of removal under section 1446(a).”); Things

        Remembered v. Petrarca, 516 U.S. 124, 128 (1995).

              In Ellenburg v. Spartan Motors Chassis, Inc., 519 F.3d 192 (4th Cir. 2008) and

        Doe v. Blair, 819 F.3d 64 (4th Cir. 2016), the plaintiffs, unlike ColonialWebb, filed

        no motion for remand—and nowhere in the record had the plaintiffs indicated that

        there was a procedural defect in the removal. Ellenburg 519 F.3d at 194; Doe, 819

        F.3d at 65. In both cases, this Court found that the district court exceeded its authority

        in sua sponte remanding the case because the court, not the plaintiff, raised a

        procedural defect in the removal. Ellenburg 519 F.3d at 194; Doe, 819 F.3d at 65.

              Hill Phoenix argues that the district court here remanded the case sua sponte

        due to the issue of consolidation. Opening Br. for Appellant at 10-14. Hill Phoenix



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        also argues that ColonialWebb did not raise the issue of improper consolidation. But

        the record is replete with ColonialWebb raising the issue of improper consolidation.

        For example, in paragraph nine of ColonialWebb’s Motion for Remand,

        ColonialWebb introduces the issue of Hill Phoenix’s improper consolidation of the

        two state court cases. JA164 ¶ 9. ColonialWebb discusses Hill Phoenix’s improper

        consolidation in the following three paragraphs of its Motion for Remand. JA164.

        ¶¶ 10-12. Likewise, the opening sentence of the introduction of ColonialWebb’s

        Memorandum in Support of Motion to Remand asserts that Hill Phoenix improperly

        consolidated the two state court cases. JA218. And, although ColonialWebb stated

        in its conclusion that remand was warranted because of the forum selection clause

        in ColonialWebb’s terms and conditions, the Memorandum contains multiple

        assertions by ColonialWebb that Hill Phoenix improperly consolidated cases.

        JA218-235.

              Finally, in addition to its motion for remand and a memorandum in support,

        ColonialWebb filed Notice Providing Certified Copies of Court Records Obtained

        from Henrico Circuit within thirty (30) days from the Notice of Removal. This

        Notice, once again, informed the district court that Hill Phoenix improperly

        consolidated two state court cases when it filed its Notice of Removal. JA434-437.

              Where the Ellenburg and Doe plaintiffs remained silent on a procedural

        defects in removal, ColonialWebb shouted from the pages of its court filings that



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        Hill Phoenix improperly consolidated two state court cases upon removal. Even

        though the district court stated that the matter of improper consolidation and remand

        was before the Court on its own initiative, (JA611) it was ColonialWebb’s raising of

        the issue of improper consolidation that brought the procedural defect to the district

        court’s attention. Therefore, the district court did not sua sponte raise the issue of

        improper consolidation.

              This Court has held that the purpose of not permitting a court to raise the issue

        of a procedural defect sua sponte is to allow the parties to police non-jurisdictional

        questions regarding the propriety of removal and to waive the defect if they prefer

        to remain in a federal forum. Ellenburg 519 F.3d at 198 – 99. The concern is that if

        a court acts without a motion for remand from the plaintiff, then the court may

        deprive both parties of their preferred forum. Id.

              The district court here did not act without a motion from the plaintiff and did

        not deprive both parties of their preferred forum. ColonialWebb filed a Motion for

        Remand and repeatedly raised the issue of improper consolidation. The district court

        did not act sua sponte by remanding this case.

                 2. The district court colorably characterized Hill Phoenix’s improper
                    consolidation as a procedural defect.

              The district court did not explicitly state that Hill Phoenix’s improper

        consolidation of the two state court cases was a procedural defect under 1447(c)—

        but such a statement is not necessary. A.D.A. v. McKinsey & Co., 2022 U.S. App.

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        LEXIS 12479, *2 (4th Cir. 2022)(“In determining whether a remand order is based

        on one of the two §1447(c) grounds, we look to the substance of the district court’s

        decision, not the labels or citations the court employed.”); see also Atl. Nat’l Tr. LLC,

        621 F.3d at 935 (9th Cir. 2010)(noting that the appellate court may analyze the basis

        of the district court’s order where the district court “did not identify the ground for

        remand, where the order was ambiguous, or where it was not clear that the ground

        specified by the district court was a ground enumerated in section 1447(c).” ).

              The district court began its remand decision by stating that parties filed briefs

        that addressed issues surrounding, among other things, the removal and the

        consolidation of the state cases. JA611. It then walked through the steps that Hill

        Phoenix took to remove the cases to federal court that resulted in improper

        consolidation of the Michigan Case and the Colorado case. JA612-614. The court

        specifically noted that the two state court cases were filed together upon removal

        because Hill Phoenix represented that the two cases were identical. JA613-614.

        Because the steps that removed the two cases to federal court were also the steps that

        improperly consolidated the cases, by characterizing its remand decision as being

        based on Hill Phoenix’s improper consolidation, the district court also characterized

        its decision as being based on a procedural defect in removal. This characterization

        is colorable because the improper consolidation was not wholly external to the

        removal process, but rather entwined with and prevented proper removal. See e.g.,



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        Protopapas v. Travelers Cas. & Sur. Co., 94 F.4th 351, 359 (4th Cir. 2024)(finding

        that the district court’s reasoning in its remand order that a forum selection clause

        prevented a defendant from consenting removal was a colorable characterization of

        a procedural defect); Overlook Gardens Props. LLC v. ORIX USA, L.P., 927 F.3d

        1194, 1201 (11th Cir. 2019) (finding a district court’s grounds for remand

        “colorable” when the district court held that the enforcement of a forum selection

        clause against one of multiple defendants led to a defect in the removal process due

        to a lack of unanimous consent among all the defendants).

              In Bartels by & through Bartels v. Saber Healthcare Grp, LLC, 880 F.3d 668

        (4th Cir. 2018), the district court remanded the case to state court in order to enforce

        the plaintiff’s forum selection clause. Id. at 673. Similarly, in FindWhere Holdings,

        Inc. v. Sys. Envt. Optimization, LLC, 626 F.3d 752, 755 (4th Cir. 2010), the district

        premised its remand decision on providing a remedy for the defendant’s breach of a

        forum selection clause. Id. at 755. In both cases, this Court exercised jurisdiction

        because the district courts’ decisions were based on where a contractual clause

        required the case be brought, not on whether the contractual clauses implicated

        compliance with the procedures for removal to federal court. Bartels by & through

        Bartels, 880 F.3d 668 at 672-73; FindWhere Holdings, Inc. v. Sys. Envt.

        Optimization, LLC, 626 F.3d at 754.




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              In contrast, this past February, this Court found it lacked jurisdiction to review

        a district court’s remand order that was also based on a forum selection clause.

        Protopapas v. Travelers Cas. & Sur. Co., 94 F.4th 351, 359 (4th Cir. 2024). In

        Protopapas, the district court characterized the forum selection clause as preventing

        the defendants from consenting to removal and thus complying with the statutory

        removal requirements. Id. at 359–60.

              The difference between these cases is that in Bartels and FindWhere Holdings,

        the remand decision was based on factors completely external and unrelated to the

        removal process, while the decision Protopapas linked the forum selection clause

        issue to the removal procedure. Stated differently, in Bartels and FindWhere

        Holdings, this Court exercised appellate jurisdiction because the district courts’

        reasoning for remand did not implicate removal procedures and thus was not

        colorably characterized as based on a procedural defect. But in Protopapas, the

        district court’s remand decision regarding the forum selection clause issue

        implicated removal procedures. This rendered its remand order colorably based on

        a procedural defect, barring appellate review.

              Here, unlike Bartels and FindWhere Holdings, the district court did not decide

        to remand this case based on factors external to the removal procedures. This case is

        more akin to Protopapas because the same steps which removed the case to federal

        court also resulted in improper consolidation and the merging of two state cases into



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        one federal case. This caused the improper consolidation to implicate removal

        procedures. Thus, by basing the remand on improper consolidation while also

        discussing removal, the district court colorably characterized its remand order on a

        procedural defect. Therefore, the Court lacks jurisdiction to review and should

        dismiss the appeal.

           II.      The district court had authorization to remand the case because Hill
                    Phoenix’s improper consolidation was a procedural defect.

                 Even if this Court could review the remand decision, it should affirm. Not

        only did ColonialWebb raise the issue of improper consolidation, but the district

        court correctly determined that Hill Phoenix improperly consolidated the Michigan

        Case and the Colorado Case. Because this improper consolidation occurred upon

        removal, it was a procedural defect and the district court had authority to remand

        under 28 U.S.C § 1447(c). A finding that improper consolidation upon removal is

        not grounds for remand would be inequitable to not only ColonialWebb but other

        plaintiffs by providing defendants a tool to delay litigation.

           A. Hill Phoenix improperly consolidated two state court cases.

                 The district court correctly determined that Hill Phoenix improperly

        consolidated the cases because the authority to consolidate under Federal Rule of

        Civil Procedure 42 is exclusive to the court. Fed. R. Civ. P. 42(a) (“If actions before

        the court involve a common question of law or fact, the court may: (1) join for




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        hearing or trial any or all matters at issue in the actions; (2) consolidate the actions;

        or (3) issue any other orders to avoid unnecessary cost or delay.”) (emphasis added).

                 A party to a lawsuit does not have unilateral power over the court’s docket. If

        a party seeks an order consolidating cases, the party must move the court for such

        an order. See Fed. R. Civ. P. 7(b) (“A request for a court order must be made by

        motion.”). Hill Phoenix did not file a motion to consolidate the cases. Instead, Hill

        Phoenix combined the two cases by representing to the district court clerk that State

        Case Nos. CLS23004146-00 (the “Michigan Case”) and CL23004147-00 (the

        “Colorado Case”) were identical when it filed a single Notice of Removal in Federal

        court. JA5-10. At that time, the state court cases were separately pending in state

        court.

                 By combining the cases upon removal without a motion to the court, Hill

        Phoenix stripped from both the state court, where the cases had been pending when

        improperly consolidated, and from the district court, the opportunity to analyze the

        factors for consolidation. No court determined whether the cases involved common

        question of law or fact and whether

                 the specific risks of prejudice and possible confusion [are] overborne
                 by the risk of inconsistent adjudications of common factual and legal
                 issues, the burden on parties, witnesses, and available judicial resources
                 posed by multiple lawsuits, the length of time required to conclude
                 multiple suits as against a single one, and the relative expense to all
                 concerned of the single-trial, multiple-trial alternatives.

        Arnold v. Eastern Air Lines, Inc., 681 F.2d 186, 193 (4th Cir. 1982).

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                 The district court correctly found that Hill Phoenix improperly consolidated

        the two state court cases when Hill Phoenix filed its Notice of Removal in federal

        court.

           B. Hill Phoenix’s Improper Consolidation is a procedural defect under Section
              1447(c).

                 Hill Phoenix asserts that filing a Notice of Removal that consolidates two state

        court cases into one case without authority from a court is not a procedural defect in

        the removal procedure. Opening Br. of Appellant at 14. However, Hill Phoenix too

        narrowly construes “defect” to refer only defects in the procedures specified in 28

        U.S.C § 1446 (procedure for removal of civil actions).

                 This Court has held that “[f]rom the context of § 1447, it is apparent ‘that

        “defect” refers to a failure to comply with the statutory requirements for removal

        provided in 28 U.S.C. §§ 1441-1453.’” Bynum v. Norfolk S. Ry. Co. (In re Norfolk

        S. Ry. Co.), 756 F.3d 282 (4th Cir. 2014)(citing Kamm v. ITEX Corp., 568 F.3d 752,

        755 (9th Cir. 2009))(emphasis added).

                 28 U.S.C. §1441(a) states:

                 [e]xcept as otherwise expressly provided by Act of Congress, any civil
                 action brought in a State court of which the district courts of the United
                 States have original jurisdiction, may be removed by the defendant or
                 the defendants, to the district court of the United States for the district
                 and division embracing the place where such action is pending.

        28 U.S.C. §1441(a)(emphasis added).




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               In Hill Phoenix’s Notice of Removal, Hill Phoenix stated it was removing one

        civil action that was incorrectly filed under two case numbers in state court. JA5. As

        discussed, that is wholly inaccurate. Not only does the Notice of Removal

        consolidate two state court cases without authorization, but it effectively merges the

        cases and eliminates the facts and claims of the Colorado Case all together. JA5-10.

               The Notice of Removal contains several incorrect representations of fact. For

        example, ColonialWebb did not file a state court case under two different case

        numbers. No such civil action was brought in a state court. Indeed, no such civil

        action exists. Therefore, at minimum, by improperly consolidating the two state

        court cases upon removal, Hill Phoenix failed to comply with the procedural

        requirements of Section 1441(a) because the action Hill Phoenix attempted to

        remove was not brought in state court.

              Hill Phoenix attempts to analogize this case to Thermtron Products. Opening

        Br. of Appellant at 17. However, this case is fundamentally and materially different.

        In Thermtron Products, the issue was whether a court could remand a case due to a

        lack of space on the court’s docket when the propriety of removal was not in question

        and the defendant had properly asserted its right to a federal forum. 423 U.S. 336,

        342–44 (1976). Because an overcrowded docket is wholly unrelated to the removal

        process, the Court found that the district court exceeded its authority by remanding

        the case. Id.



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              Here, Hill Phoenix’s improper consolidation upon removal relates to the

        removal procedures for the simple reason that Hill Phoenix did not remove the

        correct case to federal court. Rather it merged the two cases into one, presenting a

        fictional case to the district court in its Notice of Removal. As a result, Hill Phoenix

        failed to remove a civil action brought in state court as required by Section 1441 of

        the removal statute. Because a procedural defect is a failure to comply with any of

        the statutory requirements of 28 U.S.C. §§ 1441-1453, Hill Phoenix’s improper

        consolidation upon removal constitutes a procedural defect. Thus, the district court

        had grounds for remand under 28 U.S.C. § 1447(c).

              Further, by making a procedural defect in its removal, Hill Phoenix failed to

        properly invoke its right to a federal forum. See Martin v. Franklin Cap. Corp., 546

        U.S. 132, 137 (2005)(“[T]he removal statute grants defendants a right to a federal

        forum. A remand is necessary if a defendant improperly asserts this right . . . .”). The

        district court was right to remand.

           C. Overturning the district court’s remand order would be inequitable.

              Overturning the district court’s remand order would cause confusion and

        delays in litigation and force ColonialWebb to suffer an inequitable result.

              The purpose of 28 U.S.C § 1447(d) is to avoid procedural delays in litigation.

        Powerex Corp. v. Reliant Energy Servs., Inc., 127 S. Ct. 2411, 2415 (2007);

        Thermtron Prods. v. Harmansdorfer, 423 U.S. 336, 351 (1976). The Fourth Circuit



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        has held that when a party wishes to consolidate cases, courts must determine that

        consolidation will not result in confusion or prejudice to the plaintiff. Arnold v.

        Eastern Air Lines, Inc., 681 F.2d 186, 193 (4th Cir. 1982).

              A reversal of the district court’s remand order would cause significant

        procedural delays in litigation. It would require further delay in litigation as the

        district court and the parties untangle the knot Hill Phoenix removed into federal

        court. For example, it will have to be determined whether both cases can remain in

        federal court, when there was only one notice of removal filed that addressed the

        facts of only one case. The court will have to determine the applicability of the

        motions currently pending in federal court to either case. These procedural matters

        must be addressed before the court and the parties can turn to the merits of the cases.

              Further, a reversal of the remand order would be inequitable for ColonialWebb

        and future plaintiffs who bring separate lawsuits against a single defendant. Hill

        Phoenix was aware that it worked on a project in Michigan and on a project in

        Colorado, but made little effort to clarify whether there were two cases filed in state

        court, or one. That question easily could have been resolved by visiting the Henrico

        Circuit Court, accessing the case files on OCRA, or speaking with ColonialWebb’s

        counsel. Yet Hill Phoenix chose to do none of these things. Rather, Hill Phoenix

        forced ColonialWebb to spend considerable time and expense diagnosing Hill

        Phoenix’s procedural error, explaining this error to both Hill Phoenix and the district



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        court, and ensuring that the correct and accurate facts and documents are in the

        record.

              As evidenced by this time and expense incurred by ColonialWebb, if the

        district court remand order is reversed, Hill Phoenix will be rewarded for its lack of

        due diligence and defendants will be handed a tool to delay litigation. The defendant,

        by removing and consolidating multiple lawsuits brought against it in state court by

        the same plaintiff into a single federal court case, can take advantage of the time and

        expense the plaintiff incurs to undo the confusion the defendant created.

              Such confusion and delay will chill plaintiffs’ efforts to seek redress for

        multiple wrongs. The fear of incurring additional expense and time related to

        untangling a defendant’s improper consolidation upon removal will make plaintiffs

        reluctant to file multiple separate lawsuits against the same defendant. Not only is a

        review of the district court’s remand order barred from review by 28 U.S.C 1447(d),

        but a review and reversal would be contrary to the underlying purpose of 28 U.S.C

        1447(d) and would cause an inequitable result for ColonialWebb and future plaintiffs

        who attempt to file multiple, distinct civil actions against a single defendant in state

        court. This Court should affirm the decision to remand.

                                           CONCLUSION

              This appeal should be dismissed. In the alternative, the district court’s

        judgment should be affirmed.



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                              ORAL ARGUMENT STATEMENT

              Appellee ColonialWebb Contractors Company does not request oral argument

        because the issue in this appeal is a clear error of law that can be resolved on the

        briefing. To the extent that this Court determines otherwise, ColonialWebb

        Contractors Company will appear at any argument directed by this Court.

        Dated: May 30, 2024                   Respectfully Submitted,

                                              COLONIALWEBB CONTRACTORS
                                              COMPANY


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                               CERTIFICATE OF COMPLIANCE

              This brief complies with the length limitation of Fed. R. App. P. 32(a)(7)

        because:

              • This brief does not exceed 30 pages and contains 6,487 words, excluding

                   the parts exempted by Fed. R. App. P. 32(f).

        This brief complies with the typeface and type style requirements of Fed. R. App. P.

        32(a)(5) and Fed. R. App. P. 32 (a)(6) because:

              • This brief has been prepared in a proportionally spaced 14-point Times

                   New Roman font using Microsoft Word.

                                                 /s/ Courtney Moates Paulk
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                         CERTIFICATE OF FILING AND SERVICE

              I hereby certify that on this 30th day of May, 2024 I caused this Brief of

        Appellee to be filed electronically with the Clerk of the Court using the CM/ECF

        System, which will send notice of such filing to all registered CM/ECF users.


                                                /s/ Courtney Moates Paulk
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